  Case 6:21-cv-03038-MJJ-PJH Document 30 Filed 11/10/21 Page 1 of 1 PageID #: 277

                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


TARA FOGLEMAN-LAXEY                                     CASE NO. 6:21-CV-03038

VERSUS                                                  JUDGE JUNEAU

JOSH GUILLORY ET AL                                     MAGISTRATE JUDGE PATRICK J.
                                                        HANNA


                  NOTICE OF MOTION SETTING WITHOUT ORAL ARGUMENT

       Please take notice that the Motion to Dismiss For Failure to State a Claim (Document No. 26) filed
by Donald Landry, Motion to Dismiss For Failure to State a Claim or Alternatively Motion for More
Definite Statement (Document No. 27) filed by Mark Garber and Motion to Strike Complaint, Motion to
Dismiss For Failure to State a Claim (Document No. 29) filed by Joshua Guillory, Lafayette City-Parish
Consolidated Government, Scott Morgan on November 9, 2021 has been referred to Honorable Patrick J.
Hanna and has been assigned the January 13, 2022 motion date.

                                                   Deadlines

        Any response to said motion is due within twenty-one (21) days after service of the motion (see LR
7.5). The movant may file a reply within seven calendar (7) days after the memorandum in opposition is
filed. LR 7.8 governs the length of the memoranda. OPPOSITION TO THE MOTION MUST BE FILED
TIMELY OR THE MOTION WILL BE CONSIDERED UNOPPOSED.

                                              No Oral Argument
       It is the policy of the Court to decide motions on the basis of the record without oral argument.
Therefore, briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral
argument is necessary. A written ruling will be issued in due course.

                                        Courtesy Copies Not Required

        The parties are relieved of their obligation under LR 7.1 to provide chambers with courtesy copy of
the briefs and any attachments filed in connection with this motion.


DATE OF NOTICE: November 10, 2021

                                              TONY R. MOORE
                                              CLERK OF COURT
